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                         UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA



United States of America,
                                                        Crim. No. 22-72-1 (JRT/BRT)
                      Plaintiff,

v.
                                                        ARRAIGNMENT ORDER
Andrew Lee Barnes,

                      Defendant.



       An indictment was filed on April 20, 2022. (Doc. No. 1.) Defendant Barnes was

arraigned on April 21, 2022. (Doc. No. 9.)

       Pursuant to the Due Process Protections Act, the Court confirms the United

States’ obligation to disclose to the defendant all exculpatory evidence- that is, evidence

that favors the defendant or casts doubt on the United States’ case, as required by Brady

v. Maryland, 373 U.S. 83 (1963) and its progeny, and ORDERS the United States to do

so. Failure to do so in a timely manner may result in consequences, including, but not

limited to, exclusion of evidence, adverse jury instructions, dismissal of charges,

contempt proceedings, disciplinary action, or sanctions by the Court.

       Pursuant to Local Rule 12.1 (copy attached), IT IS FURTHER HEREBY

ORDERED that:

       1.       The government must make all disclosures required by Federal Rule of

Criminal Procedure 16(a) by May 2, 2022. D. Minn. LR 12.1(a)(1). In order to avoid the
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need for a recess of the motions hearing, the government is requested to make, by May 2,

2022, all disclosures which will be required by Fed. R. Crim. P. 26.2 and 12(h).

       2.       Defendants must make all disclosures required by Federal Rule of Criminal

Procedure 16(b) by May 9, 2022. D. Minn. LR 12.1(a)(2).

       3.       All motions in the above-entitled case must be filed and served consistent

with Federal Rules of Criminal Procedure 12(b) and 47 on or before May 16, 2022 1 D.

Minn. LR 12.1(c)(1). Counsel are advised that Magistrate Judge Thorson does not

require any courtesy copies related to pretrial motions. Counsel must electronically

file a letter on or before May 16, 2022, if no motions will be filed and there is no

need for hearing.

       4.       All responses to motions must be filed by May 31, 2022. D. Minn. LR

12.1(c)(2).

       5.       Any Notice of Intent to Call Witnesses must be filed by May 31, 2022. D.

Minn. LR. 12.1(c)(3)(A).

       6.       Any Responsive Notice of Intent to Call Witnesses must be filed by June 3,

2022. D. Minn. LR 12.1(c)(3)(B).

       7.       A motions hearing will be held pursuant to Federal Rules of Criminal

Procedure 12(c) where:




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       “Before filing a motion under Fed. R. Crim. P. 12(b), the moving party must
confer with the responding party. The parties must attempt in good faith to clarify and
narrow the issues in dispute.” D. Minn. LR 12.1(b).
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               a.     The government makes timely disclosures and Defendant identifies
                      in the motions particularized matters for which an evidentiary
                      hearing is necessary; or

               b.     Oral argument is requested by either party in its motion, objection or
                      response pleadings.

      8.       In the event motions a hearing is required, the hearing will be set for June

8, 2022, at 1:30 p.m.

      9.       TRIAL

               a.     IF NO PRETRIAL MOTIONS ARE FILED BY DEFENDANT:

      the following trial and trial-related dates are:

               All voir dire questions, jury instructions, and trial related motions

(including motions in limine) must be submitted to Chief District Judge John R. Tunheim

on or before June 28, 2022.

               This case shall commence trial on July 5, 2022, at 9:00 a.m. before Chief

District Judge John R. Tunheim in Courtroom 14E, Diana E. Murphy U.S. Courthouse,

300 South Fourth Street, MINNEAPOLIS, Minnesota.

               b.     IF PRETRIAL MOTIONS ARE FILED, the trial date, and

other related dates, will be rescheduled following the ruling on pretrial motions.

Counsel must contact the Courtroom Deputy for Chief District Judge John R.

Tunehim to confirm the new trial date.


Dated: April 22, 2022                       s/ Becky R. Thorson
                                            BECKY R. THORSON
                                            United States Magistrate Judge


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